               Case 2:18-cv-00167-RAJ Document 8 Filed 06/14/18 Page 1 of 1



                                                                        The Honorable Richard A. Jones
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
      CARLOS TAPANG
10                                                            No. 2:18-cv-00167 - RAJ
                                 Plaintiff,
11                                                            NOTICE OF VOLUNTARY
             v.                                               DISMISSAL PURSUANT TO
12                                                            FRCP 41(a)(1)(A)(i)
      T-MOBILE USA, INC.,
13
                                 Defendant.
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             Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Carlos Tapang, by
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      and through his undersigned counsel, does hereby dismiss all claims made in this action against
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      Defendant T-Mobile USA, Inc., with prejudice and without costs.
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             Plaintiff’s dismissal is effective upon the filing of this Notice.
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             DATED this ____ day of June, 2018.
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                                                         Boris Davidovskiy, P.S.
21                                                       Attorney for Carlos Tapang
22                                                       By /s/ Boris Davidovskiy
                                                            Boris Davidovskiy
23                                                          Boris Davidovskiy, P.S.,
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     NOTICE OF VOLUNTARY DISMISSAL (No. 2:18-cv-00167-RAJ) - 1
